EXHIBIT A

4849-5612-0585.1

 
 

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Case No. S0300CV202000430
HOW, DANR SLAYTON

GOLDBERG & OSBORNE, LL?
Allen D. Bucknell, Esq., #007351
4473 E. Thomas Road, Suite |
Phoenix, AZ 85018

(602) 808-6200

abucknell @)goldbergandosbome.com
Attorney for Plaintiff

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
IN AND FOR THE COUNTY OF COCONINO
CHERYL LANIER, individually and as
surviving spouse of MICHAEL HOWARD,

for herself and on behalf of all surviving
beneficiaries,

Plaintiff, COMPLAINT

VS. (Tort/Non-Moter Vehicle)

CANYONEERS, INC, a domestic
corporation; ABC PARTNERSHIPS I-A;

I-X and JANE DOES I-x,
Defendants.

 

 

COMES NOW Plaintiff, Cheryl Lanier, for her complaint against Defendants alleges:

1. Venue and jurisdiction are proper in the Coconino County Superior Court.

2. Plaintiff, Cheryl Lanier, (hereinafter Cheryl or Plaintiff) brings this action as the
surviving spouse of Michael Howard (deceased) (hereinafter Mike) on behalf of all surviving
statutory wrongful death beneficiaries pursuant to ARS. § 12-612.

3. Defendant, Canyoneers, Inc. (hereinafter, “Defendant(sy’ or “CINC”), is a domestic

corporation and has caused or contributed to events which underlie this lawsuit.

 

 

 

 
 

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GOLDBERG & OSBORNE LLP

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4, Defendants, ABC PARTNERSHIPS LX, XYZ CORPORATIONS I-X, JOHN DOES
I-X, and JANE DOES [-X, are believed to be individuals and/or entities, including employees,
officers, servants or ostensible agents of CINC, who have caused or contributed to the events which
underlie this lawsuit. The true names and capacities of the fictitious defendants are unknown at this
time. Plaintiff will, upon ascertaining the true identity and capacities of these defendants, seek leave
to amend this complaint.

3. At all times relevant herein, defendants, including CZNC, acted pursuant to customs
and policies authorized, ratified, and approved by their employees, officers, servants, or ostensible
agents.

BACKGROUND

6. Plaintiff incorporates herein by reference all previous paragraphs and allegations
contained hereinabove, as if fully set forth herein.

7, At all times relevant herein, CINC provided Guided Colorado River Trips
(hereinafter, “GCRT”) to the public within Grand Canyon National Park, under Cencession
Contract No. CC-GRCA010-08 with the United States Department of the Interior, National Park
Service.

8. Awmong other things, the Concession Contract requires CINC to:

(a) establish appropriate hiring, training, safety, and employment policies and

procedures;

 

 

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{b) utilize appropriate best management practices by applying the most current and
advanced means and technologies available to undertake and maintain a
superior level of performance in its provision of services to the public; and

(c) conduct an orientation talk for all its clients to discuss water safety, rescue, and
the mandatory use of personal flotation devices (PFDs).

FACTUAL BASIS

9. Plaintiff incorporates herein by reference all previous paragraphs and allegations
contained hereinabove, as if fully set forth herein.

10. In or about March 2018, Cheryl and Mike purchased a GCRT package from CINC
advertised as “All the Grand, full canyon, Lees Ferry to Lake Mead, 7 days/6 nights on river, no
major hike in or out of the canyon.”

1l. The GCRT departed from Lees Ferry on Wednesday, September 5, 2018, and
involved 14 passengers, including Cheryl and Mike, and 2 CINC guides operating a 37’ Seacraft
S-Rig inflatable motorized raft (hereinafter, “Seacraft”).

12. Upon information and belief, Kolby Kvam (hereinafter, “Lead Guide’) was the lead
guide and piloted the Seacraft; Connor Donovan (hereinafter, “Guide”) was the assistant guide
(collectively, Guides”). The Guides were employees of defendant CINC. At all times alleged in
the complaint, the Guides were acting in the course and scope of their employment for CINC,
rendering CINC liable for the negligent conduct of its Guides under the doctrine of respondeat

superior or actual, ostensible, or apparent agency.

 

 
 

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13. On September 7, 2018 (third day of the trip), at approximately 10:30 a.m., the Lead
Guide stopped the Seacrafi at the mouth of Clear Creek Canyon, near river mile 84.5, so the
passengers could go on a short hike.

14. The Guides secured the Seacraft to the shore and instructed all passengers to remove
their PFDs before disembarking.

15. Cheryl and Mike complied with the Guides’ directions and removed their PFDs before
disembarking.

16. Mike was the first passenger to disembark the Seacraftf and he did so without incident.

17. Cheryl was the second passenger to disembark. As she attempted to step out of the raft
and onto the shore, she slipped causing her to step into the running water between the raft and the
shore. She then fell and was swept away by the river current.

18. Mike immediately jumped into the river to save Cheryl.

19. Upon information and belief, one Gzide began running down the banks of the river
‘with a rope and floating device in a futile attempt to help Cheryl and Mike.

20.  Bventually, the Guide returned to the Seacrajt and the Guides untethered the Seacraft’s
lines from shore before beginning search and rescue efforts.

21. Several minutes passed before Cheryl was located. She was about .75 miles
downstream, floating on her back, and unresponsive.

22. The passengers and Guide were able to pull Cheryl on board the Seacraft and began
emergency resuscitation efforts. A rescue team safely transported Chery! by helicopter from Phantom

Ranch to Flagstaff Medical Center.

 

 

 
 

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23. The guides never found or located Mike.

24. On September 14, 2018, Mike’s body was located approximately ien miles

downstream just below Granite Rapids.

Negligence

25. Plaintiff incorporates herein by reference all previous paragraphs and allegations
contained hereinabove, as if fully set forth herein.

26. | CINC has a duty to act as a reasonable and prudent concessioner providing GCRT
services in same or similar circumstances and to conform its operations with generally accepted
safety standards in effect at the time of the incident, among other duties, so as to avoid harm to others.

27. CINC and the Guides negligently breached their duty to Chery! and Mike and failed
to conform with generally accepted safety standards in effect at the time of the incident.

28.  CINC and the Guides negligently breached their duty to Cheryl and Mike when the
Guides instructed all passengers, including Cheryl and Mike, to remove their PFDs before
disembarlding in very rough and dangerous waters.

29. CINC and the Guides negligently breached their duty to Cheryl and Mike when the
Guides failed to assist Cheryl when she attempted to disembark in very rough waters.

30.  CINC and the Guides negligently breached their duty to Cheryl and Mike when the
Guide ran down shore with a rope and life preserver, delaying rescue efforts.

31. The Guides’ negligent conduct resulted, in whole or in part, from a lack of training by

CINC.

 

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32. CINC negligently breached its duty to Cheryl and Mike when it vetted, hired, and
inadequately trained Guides who were unqualified to perform their duties without significant harm
resulting to others.

33.  Thenegligence of CINC and its Guides caused the wrongful death of Michael Howard
and the resulting damages of all surviving statutory ‘wrongful death beneficiaries, including Cheryl.

34. The negligence of CINC and its Guides caused Chery! to sustain physical injuries in
an amount and severity to be proven at trial.

NEGLIGENCE PER SE

35. Plaintiff incorporates herein by reference all previous paragraphs and allegations
contained hereinabove, as if fully set forth herein.

36. CINC violated federal regulations meant to protect Cheryl and Mike from harm and

such violations constitute negligence per se.

37. CINC’s violation of federal regulations caimedl the wrongful death of Michael Howard.
38. CINC’s violation of federal regulations caused the physical injuries and damages
suffered by Cheryl.
DAMAGES: WRONGFUL DEATH
39. Plaintiff incorporates herein by reference all previous paragraphs and allegations

contained hereinabove, as if fully set forth herein.
40. As a direct and proximate result of the negligent and wrongful acts of Defendants,

and ali of them, the surviving statutory wrongful death beneficiaries are entitled to recover for each

 

 

 
 

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of the following elements of damages proved by the evidence to have resulted from the death of
Michael Howard:

(a) The loss of love, affection, companionship, care, protection, and guidance since the
death and in the future.

(bo) The pain, grief, sorrow, anguish, stress, shock, and mental suffering already
experienced, and reasonably probable to be experienced in the future.

(c) , The income and services that have already been lost as a result of the death, and that
are reasonably probabie to be lost in the future.

_(d) The reasonable expenses of funeral and burial.
DAMAGES: PHYSICAL INJURIES

41. Plaintiff incorporates herein by reference all previous paragraphs and allegations
contained hereinabove, as if fully set forth herein.

42. Asa direct and proximate result of the negligent and wrongful acts of Defendants,
and all of them, Chery] has suffered injuries and damages, including but not limited to past and
future pain, discomfort, emotional distress, and medical bills in an amount to be proven at trial.

DISCOVERY TIER

43. Plaintiff incorporates herein by reference all previous paragraphs and allegations
contained hereinabove, as if fully set forth herein.

44, Pursuant to Rule 8(b}(2), Arizona Rules of Civil Procedure, a party who claims
damages but does not plead an amount must plead that their damages are such as to qualify for a

specified tier defined by Rule 26.2(c)(3), Arizona Rules of Civil Procedure.

 

 
 

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45. Plaintiffs damages exceed the dollar amount set forth in Rule 26.2(c)(3)(C),
Arizona Rules of Civil Procedure, qualifying this matter for Tier 3 discovery.
WHEREFORE, Plaintiff is entitled to judgment against Defendants, and each of them, for the

following relief:

A. Money damages for cach element of damages, proved by the evidence, to have been
caused by the Defendants.
B. Legal costs.

C. Such other and further relief as the Court may deem just and equitable.

9/4/2020
Dated

GOLDBERG & OSBORNE, LLP

GocusSigned by:

Mer Govnell
By pabEcasieeoadt7...

Allen D. Bucknell, Esq.
Attorney for Plaintiff

 

 

 

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EXHIBIT B

4849-5612-0585.1
Public Access to Court Information - Case Search

Case Information

  

$-0300-CV-202000430

 

itle: CHERYL LANIER PLAINTIFF vs Category: Civil
ourt: Coconino County Superior Filing Date: 9/4/2020
udge: Disposition Date:

 

 

ALLEN DBUCKNELL ATTORNEY - Y 14
CANYONEERS, INC. DEFENDANT ~ D1
CHERYL LANIER PLAINTIFF - P 1

Case Activity

 

 

 

 

 

Date Description Party
10/16/2020 SERVICE: Certificate P 1
10/13/2020 CERTIFICATE: OF SERVICE P 1
9/4/2020 INDICATOR: DISCOVERY TIER 3 P1
9/4/2020 SUMMONS: SUMMONS P 1
9/4/2020 ARBITRATION: CERTIFICATE OF COMPULSORY ARBITRATION - IS NOT P1
9/4/2020 COMPLAINT: Complaint P1

Document Search

For access to criminal and civil court documents in the Superior Court visit the eAccess portal.
For more information about the eAccess portal please visit: https:/Avww.azcourts.gov/eaccess.

NOTES:

internet Explorer 10 Users: Case details will not display properly unless you switch to
Compatibility View. How?

The following case types are excluded from search results: sealed cases, cases involving un-served Orders of Protection, mental
health and probate cases, victim and witness data. Juvenile incorrigible/delinquency case information also cannot be viewed on this
website; however other types of cases in which juveniles are parties, such as traffic cases, may be displayed. Certain administrative
functions carried out by superior court clerk's offices in each county are not included in this website, such as passport application
processing and private process server registration. Charges stemming from local ordinance violations are not included.

Please be aware of the following limitations of the case records displayed:

* The information may not be a current, accurate, or complete record of the case.

* The information is subject to change at any time.

* The information is not the official record of the court.

* Not all cases from a participating court may be included.

« The information should not be used as a substitute for a thorough background search of official public records.

The user is responsible for verifying information provided on this website against official court information filed at the court
of record, Use of this website shall indicate agreement by the user that the Arizona judiciary, including its courts, divisions, officers,
and employees, shall not be Jiable for any oss, consequence, or damage resulting directly or indirectly from the use of any of the
information available through this website and that the Arizona judiciary does not provide any warranty, express or implied, that the
information provided is accurate, current, correct, or complete.

Data available on this web site is updated frequently and can be provided via electronic media for an annual subscription fee, if
EXHIBIT C

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Petson/Attomey Filing: Allen Bucknell

Mailing Address: 4423 IE Thomas Road, Suite 3
City, State, Zip Code; Phoenix, AZ 85018

Phone Number: (602)808-6200

E-Mail Address: abucknell@goldbergandosborne.com

State Bar Number: 007351]

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
IN AND FOR THE COUNTY OF COCONINO

Cheryl Lanier

Plaintiff(s), Case No. 8§0300CV202000430
Vv,

Canyeneers, Inc. SUMMONS:

Defendant(s).

Tc: Canyoneers; Ino.

WARNING: THIS AN OFFICIAL DOCUMENT FROM THE.COURT THAT
AFFECTS YOUR RIGHTS, READ THIS SUMMONS CAREFULLY. LF YOU DO
NOT UNDERSTAND IT, CONTACT AN ATTORNEY FOR LEGAL ADVICE.

1. A lawsuit has been filed against you. A copy of the lawsuit and other court papers were
served on you with this Summons.

2. If you do not want a judgment taken against you without your input, ‘you rust file an
Answer ia writing with thé Court, and you mustpay the required filing fee. To file your
Answer, take or send.the papers to Clerk of the Superior Court, 200 N. San Francisco
St, Flapstaff, Arizona 86001 or electronically file your Answer through one of Anzona's
approved electronic filing systems at http://www.azcourts.gov/efilinginformation.

Mail a copy of the Answer to thé other party, the Plaintiff, at the address listed on thé top
of this Summons.

Note: [f you do not file electronically you will-not have electronic access to the documents
in this case,

3. Ifthis Sumimidns and the other court papers were served on you within the State of
Arizona, your Answer must be filed within TWENTY (20) CALENDAR DAYS from the
date of service,.not counting the day of service. If this Summons and the other court papers
were served on you outside the State of Anzona, your Answer must be filed within
THIRTY (30) CALENDAR DAYS from the date of service, not counting the day of
service.

 

 
 

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Requests for reasonable accommodation for persons with disabilities rust be made to
the court by parties at least 3 working days in advance of a scheduled court proceeding.

GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
and for the County of COCONINO

SIGNED AND SEALED this date:September 4, 2020

Valerie Wyant
Clerk of Superior Court

By; JDUTTON
Deputy Clerk

 

 

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Valerie Wyant
CLERK, SUPERIOR COURT
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BY: IDUTION
Person/Attorney Filing: Allen Bucknell DEPUTY
Mailing Address: 698 E Wetmore Rd Ste 200 Bee neteanocventenGh
City, State, Zip Code: Tucson, AZ 85705 HON. DAN'R SLAYTON

Phone ‘Number: (602)808-6200

E-Mail Address: abucknell@goldbergandosborne.com

[ Oj Representing Self, Without an Attomey

(If Attorney) State Bar Number: 007351, Issuing State: AZ

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
IN AND FOR THE COUNTY OF COCONINO

Cheryl Lanier ‘

Plaintiff(s), GateNo,

¥,

Canyoneers, Inc. CERTIFICATE OF -
Defendant(s). COMPULSORY ARBITRATION

- | certify that I am aware of the dollar limits and any other lomitations set forth by the

Local Rules of Practice for the Coconmo County Superior Court, and I further certify that
this case [8 NOT subject to compulsory arbitration, as provided by Rules, 72 through 77 of _
the Arizona Rules of Civil Procedure.

RESPECTFULLY SUBMITTED this

By: Allen Bucknell /s/
Plaintiff/Attorney for Plaintiff

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Attorney or Party without Aitorney:
ALLEN BUCKNELL (#007351)
GOLDBERG & OSBORNE
4423 E THOMAS RD #1
PHOENIX , AZ 85018

Telephone No: (602) 808-6200

Attorney For: Plaintiff

For Court Use Only

 

Ref. No. or FileNo: LANIER V CANYONEERS

 

Insert nome of Court, and judicial District and Branch Court:
COCONINO COUNTY SUPERIOR COURT

 

Plaintiff; CHERYL LANIER, ET AL,
Defendont: CANYONEERS, INC; ET AL,

 

CERTIFICATE OF SERVICE

 

 

Hearing Date:

Time Deptow: Case Number:
$0300CV202000436

 

 

 

 

 

1, Atthe time of service | was at least 21 years of age and not a party to this action,

2. I served copies of the

SUMMONS; COMPLAINT; CERTIFICATE OF COMPULSORY ARBITRATION;

3. o. Portyserved: CANYONEERS, INC.

b. Person served: SAMUEL W FISHER - AUTHORIZED TO ACCEPT ON BEHALF OF CANYONEERS, INC.

4, Address where the party was served; 612 N Beaver St, Flagstaff, AZ 86001

5. f served the party:

a, by substituted service. On: Mon, Oct 05 2020 at: 03:26 PM by leaving the copies with or in the presence of:
SAMUEL W FISHER - AUTHORIZED TO ACCEPT ON BEHALF OF CANYONEERS, INC. , Caucasian, Male , Age: 60, Hair:

Brown , Height: 5'11", Weight: 180 .

{a} ( Person of suitable age and discretion. Informed him or her of the general nature of the papers.

Service: $169.00, Mileage: $0.00, Certificate: $10.00, Wait: $0.00, Fees Advanced: $0.00, Total: $179.00

6. Person Executing:
a. MICHELLE TANNER
b. FIRST LEGAL
3737 North 7th. Street Suite 209
PHOENIX, AZ 85014
¢, (602) 248-9700

 

[| Dectare under penalty of perjury under the laws of the State of
Arizona that the foregoing is true and correct.

 

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(Date) 4 Gignature)

CERTIFICATE OF SERVICE

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Attorney or Party without Attorney: For Court Use Only
ALLEN BUCKNELL (#007351}
GOLDBERG & OSBORNE
4423 E THOMAS RD #1

 

PHOENIX , AZ 85018 WAY: 35
Telephone No: (602) 808-6200
Attorney For: Plaintiff Ref. No. or FileNo: LANIER V CANYONEERS ne ag

 

Insert name of Court, and judicial District and Branch Court:
COCONING COUNTY SUPERIOR COURT

Plaintiff; CHERYL LANIER; ET AL.
Defendant: CANYONEERS, ING; ET AL,

CERTIFICATE OF SERVICE Hearing Date: Time | Dept Div Case Number:
$0300CV202000430

 

 

 

 

 

 

 

 

 

 

1. At the time of service I was at least 27 years of age and not a party to this action.

2. [served copies of the
SUMMONS, COMPLAINT; CERTIFICATE OF COMPULSORY ARBITRATION;

3, @. Porty served: CANYONEERS, INC,
6. Person served: SAMUEL W FISHER - SENIOR MANAGER - CANYONEERS, INC.

4. Address where the party was served: 642 N Beaver St, Flagstaff, AZ 86001

5, If served the party:
a. by substituted service. On: Man, Oct 05 2020 at: 03:26 PM by leaving the copies with or in the presence of.

SAMUEL W FISHER - SENIOR MANAGER - CANYONEERS, INC. , Caucasian, Male , Age: 60 , Haim Brown, Helght: 5°11",
Weight: 180 .

(a} ( Person of sultable age and discretion. Informed him or her of the general nature of the papers.

Service: $169.00, Mileage: $0.00, Certificate: $10.00, Wait: $0.00, Fees Advanced: $0.00, Total: $179.00

| Declare under penalty of perjury under the jaws of the State of

Arizona that the foregoing Is true and correct.
6, Person Executing:

a. MICHELLE TANNER

b, FIRST LEGAL
3737 North 7th, Street Suite 209
PROENIX, AZ 85014

C, (602) 248-9700

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/ gate! (Signature)
CERTIFICATE OF SERVICE

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EXHIBIT D

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BISGAARD
& SMITH LLP

ATTORNEYS AT Law

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CARL F. MARIANO, SB #010994

Carl Mariano@lewisbrisbois.com

LEWIS BRISBOIS BISGAARD & SMITH LLP
Phoenix Plaza Tower II

2929 North Central Avenue, Suite 1700

Phoenix, Arizona 85012-2761

Telephone: 602.385.1040

Facsimile: 602.385.1051

Firm email: azdocketing@lewisbrisbois.com
Attorneys for Defendant, Canyoneers, Inc.

UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA, PRESCOTT DIVISION

Chery] Lanier, Case No.
Plaintiff, DECLARATION OF ATTORNEY
IN SUPPORT OF NOTICE OF
VS. REMOVAL

Canyoneers, Inc., a domestic corporation;
ABC Partnerships I-X; XYZ Corporations
I-X; John Does I-X and Jane Does I-X,

Defendants.

 

 

Pursuant to Local Rule 3.6 of the Local Rules of Civil Procedure for the United States
District Court for the District of Arizona (“LRCiv 3.6”), I, Carl F. Mariano, verify the
following:

1, Y am over the age of 18, attorney of record for Defendant Canonyeers, Inc.
(“Defendant”), and have personal knowledge of the matters set forth in this Affidavit.

2. I have read Defendant’s Notice of Removal in its entirety and verify that the
facts set forth therein are true and accurate to the best of my knowledge, information and
belief.

3. Exhibits A through E to the Notice of Removal constitute true and correct
copies of all pleadings and other documents that have been filed in the above-captioned

state-court proceeding.

4824-9341-1281.1

 
LEWIS
BRISBOIS

BISGAARD
& SMITH LiP

ATTORNEYS AT LAW

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4, Pursuant to LR Civ 3.6, a Civil Cover Sheet and a Supplemental Civil Cover
Sheet have been filed with the Notice of Removal.
5. I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct to the best of my knowledge.

EXECUTED this 6" day of November, 2020. / ji

SMS.
Carl F. Mariano

 

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